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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                          :
In re:                                                    :             Chapter 7
                                                          :
BMT Designers & Planners, Inc.,                           :             Case No.
                                                          :
                                                          :
                                    Debtor. 1             :
                                                          :


    GLOBAL NOTES AND STATEMENTS OF LIMITATIONS, METHODOLOGY, AND
     DISCLAIMERS REGARDING THE DEBTOR’S SCHEDULES OF ASSETS AND
            LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

        BMT Designers & Planners, Inc. (the “Debtor”), is filing its Schedules of Assets and
Liabilities (each, a “Schedule,” and, collectively, the “Schedules”) and Statement(s) of Financial
Affairs (the “Statements” or “SOFA”) in the Bankruptcy Court for the Southern District of New
York (the “Bankruptcy Court”) pursuant to section 521 of chapter 11 of title 11 of the United States
Code (the “Bankruptcy Code”) and Rule 1007 of the Federal Rules of Bankruptcy Procedure (the
“Bankruptcy Rules”).

        These Global Notes and Statements of Limitations, Methodology, and Disclaimers
Regarding the Debtor’s Schedules of Assets and Liabilities and Statements of Financial Affairs
(collectively, the “Global Notes”) pertain to, are incorporated by reference in, and comprise an
integral part of all of the Schedules and Statements. The Global Notes are in addition to the specific
notes set forth below with respect to particular Schedules and Statements (the “Specific Notes”
and, together with the Global Notes, the “Notes”).

        These Global Notes should be referred to, and referenced in connection with, any review
of the Schedules and Statement. The Debtor’s management prepared the Schedules and Statements
with the assistance of its advisors and other professionals. The Schedules and Statements are
unaudited and subject to potential adjustment. In preparing the Schedules and Statements, the
Debtor relied on financial data derived from its books and records that was available at the time of
preparation. The Debtor’s management team and advisors have made reasonable efforts to ensure
that the Schedules and Statements are as accurate and complete as possible under the
circumstances; however, subsequent information or discovery may result in material changes to
the Schedules and Statements and inadvertent errors or omissions may exist. Notwithstanding any
such discovery, new information, or errors or omissions, the Debtors do not undertake any
obligation or commitment to update the Schedules and Statements.



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     The Debtor in the Chapter 7 Case and the last four digits of the Debtor's taxpayer identification number is 7909.
     The registered address for the Debtor is 2900 S Quincy St. Suite 210, Arlington, VA 22206.

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         The Debtor reserves all rights to amend or supplement the Schedules and Statements from
time to time, in all respects, as may be necessary or appropriate, including the right to dispute or
otherwise assert offsets or defenses to any claim reflected on the Schedules and Statements as to
amount, liability, classification, identity of debtor or to otherwise subsequently designate any claim
as “disputed,” “contingent,” or “unliquidated.” Furthermore, nothing contained in the Schedules,
Statements, or Notes shall constitute a waiver of the Debtor’s rights or an admission with respect
to its chapter 7 case.

The Schedules, Statements, and Notes should not be relied upon by any persons for
information relating to current or future financial conditions, events, or performance of the
Debtor.

                                        GLOBAL NOTES

   1. Description of the Case. On the date hereof (the “Commencement Date”), the Debtor
      commenced a voluntary case under chapter 7 of the Bankruptcy Code.

   2. Basis of Presentation. These Schedules and Statements, neither purport to represent
      financial statements prepared in accordance with Generally Accepted Accounting
      Principles in the United States (“GAAP”), nor are they intended to be fully reconciled with
      the financial statements of the Debtor. The Schedules and Statements contain unaudited
      information that is subject to further review and potential adjustment, and reflect the
      Debtor’s reasonable efforts to report the assets and liabilities of the Debtor.

   3. Reporting Date. Unless otherwise noted, the reported asset values in Schedules A and B
      align with the asset values as of January 28, 2022 (the “Reporting Date”), and the liability
      values in Schedules D, E, and F are as of the Reporting Date.

   4. Current Values. The assets and liabilities of the Debtor are listed on the basis of the book
      value of the asset or liability in the respective Debtor’s accounting books and records.
      Unless otherwise noted, the carrying value on the Debtor’s books, rather than the current
      market value, is reflected in the Schedules and Statements.

   5. Accuracy. The financial information disclosed herein was not prepared in accordance with
      federal or state securities laws or other applicable non-bankruptcy law or in lieu of
      complying with any periodic reporting requirements thereunder. The Debtor’s
      management was appointed shortly prior to the Commencement Date and was provided a
      short period of time to prepare this financial information. U.S. mail to the Debtor was put
      on hold effective January 29, 2022, and thus certain invoices and other transactions may
      have been delayed and reporting affected as a result. Persons and entities trading in or
      otherwise purchasing, selling, or transferring the claims against or equity interests in the
      Debtor should evaluate this financial information in light of the purposes and context for
      which it was prepared. The Debtor is not liable for and undertakes no responsibility to
      indicate variations from securities laws or for any evaluations of the Debtor based on this
      financial information or any other information.

   6. Estimates and Assumptions. The preparation of the Schedules and Statements required
      the Debtor to make estimates and assumptions that affected the reported amounts of certain
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    assets and liabilities, the disclosure of certain contingent assets and liabilities and the
    reported amounts of revenue and expense. Actual results could differ materially from these
    estimates.

 7. Net Book Value of Assets. In many instances, current market valuations are not
    maintained by or readily available to the Debtor. It would be prohibitively expensive,
    unduly burdensome, and an inefficient use of resources for the Debtor to obtain current
    market valuations for all assets. As such, wherever possible, unless otherwise indicated,
    net book values as of the Reporting Date are presented. When necessary, the Debtor has
    indicated that the value of certain assets is “Unknown” or “Undetermined.” Amounts
    ultimately realized may vary materially from net book value (or other value so ascribed).
    Accordingly, the Debtor reserves all rights to amend, supplement, and adjust the asset
    values set forth in the Schedules and Statements. As applicable, fixed assets and leasehold
    improvement assets that fully have been depreciated or amortized, or were expensed for
    GAAP accounting purposes, have no net book value, and, therefore, are not included in the
    Schedules and Statements.

 8. Currency. All amounts shown in the Schedules and Statements are in U.S. Dollars.

 9. Setoffs. The Debtor routinely incurs certain setoffs from customers and suppliers in the
    ordinary course of business. Setoffs in the ordinary course can result from various items
    including, but not limited to, pricing discrepancies, customer programs, returns,
    promotional funding, warranties, refunds, and other disputes between the Debtor and its
    customers and/or suppliers. These routine setoffs are consistent with the ordinary course
    of business in the Debtor’s industry, and, therefore, can be particularly voluminous, unduly
    burdensome, and costly for the Debtor to regularly document. Therefore, although such
    setoffs and other similar rights may have been accounted for when scheduling certain
    amounts, these ordinary course setoffs are not independently accounted for, and, as such,
    are excluded from the Schedules and Statements. Nonetheless, some amounts listed may
    have been affected by setoffs of which the Debtor is not yet aware. Any setoff of a
    prepetition debt to be applied against the Debtor must comply with the Bankruptcy Code.
    The Debtor reserves all rights to challenge any setoff and/or recoupment rights that may
    be asserted.

 10. Insiders. For purposes of the Schedules and Statements, the Debtor has listed its officers
     and directors to the extent available based on current records available to the Debtor. For
     purposes of the Schedules and Statements, the Debtor defines insiders (in accordance with
     in section 101(31) of the Bankruptcy Code) as the Debtor’s (a) current and former
     directors; (b) current and former senior level officers; (c) persons in control of the Debtor;
     (d) relatives of each of the foregoing; (e) affiliates of the Debtor, including equity holders
     holding 20% or more of the Debtor’ voting securities and corporations of which the Debtor
     (or their major equity holders) hold 20% or more of voting securities; and (f) insiders of
     such affiliates, all to the extent known to the Debtor (each, an “Insider”). Persons listed as
     Insiders have been included for information purposes only. The Debtor does not take any
     position with respect to (a) such person’s influence over the control of the Debtor; (b) the
     management responsibilities or functions of such individual; (c) the decision-making or
     corporate authority of such individual; or (d) whether such individual could successfully

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    argue that he or she is not an “insider” under applicable law, including the federal securities
    laws, or with respect to any theories of liability or for any other purpose.

 11. Inventory. Although the Debtor’s balance sheet reflects the presence of inventory, the
     Debtor no longer has inventory on hand, and/or any inventory is presumed to have no
     material value.

 12. Property, plant and equipment. Owned property, plant and equipment are stated at cost
     less accumulated depreciation and amortization. Depreciation of furniture, equipment and
     computer hardware is computed using the straight-line method over an estimated useful
     life of five years. Leasehold improvements are stated at cost and are amortized over the
     lesser of the term of the related lease or the estimated useful life. Maintenance and repair
     costs are charged to expense as incurred. Replacements and betterments are capitalized.
     At the time properties are retired or otherwise disposed of, the property and equipment and
     related accumulated depreciation and amortization accounts are relieved of the applicable
     amounts and any gain or loss is credited or charged to income.

 13. Receivables and Credit Policies. The Debtor’s schedules reflect accounts receivable,
     which are customer obligations due under normal trade terms requiring payment within 30
     days from the invoice date. Accounts receivable were allocated to the specific invoices
     identified on the customer’s remittance advice or, if unspecified, are applied to the earliest
     unpaid invoices. The carrying amount of accounts receivable has been reduced by an
     allowance that reflects management’s best estimate of the amounts that will not be
     collected. Management individually has reviewed all accounts receivable balances on a
     monthly basis and based on an assessment of current creditworthiness, estimated the
     portion, if any of the balance that will not be collected. The winddown of the Debtor’s
     business is anticipated to have a material impact on the collectability of the receivables.

 14. Cash Reservation. The Debtor’s scheduled assets exclude $211,102.36 held in trust for
     the benefit of and payment to the IRS for accrued and unpaid Social Security tax deferred
     pursuant to the Coronavirus Aid, Relief, and Economic Security Act. Funds in this amount
     were wired to ADP for remission prior to the Filing Date, but may not have been transferred
     to the IRS as of such date. Related liability to the IRS is reflected as a contingent obligation
     as the transfer of trust funds may remain pending on the Filing Date.

 15. Debtors’ Reservation of Rights. Nothing contained in the Schedules, Statements, or
     Notes shall constitute a waiver of rights with respect to these chapter 11 cases, including,
     but not limited to, the following:

        a. Any failure to designate a claim listed on the Schedules and Statements as
           “disputed,” “contingent,” or “unliquidated” does not constitute an admission by the
           Debtors that such amount is not “disputed,” “contingent,” or “unliquidated.” The
           Debtor reserves the right to dispute and to assert setoff rights, counterclaims, and
           defenses to any claim reflected on its Schedules as to amount, liability, and
           classification, and to otherwise subsequently designate any claim as “disputed,”
           “contingent,” or “unliquidated.”


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       b. The listing of a claim (a) on Schedule D as “secured.” (b) on Schedule E as
          “priority,” (c) on Schedule F as “unsecured priority,” or (d) listing a contract or
          lease on Schedule G as “executory” or “unexpired” does not constitute an
          admission by the Debtor of the legal rights of the claimant, or a waiver of the
          Debtor’s rights to recharacterize or reclassify such claim or contract pursuant to a
          schedule amendment, claim objection or otherwise. Moreover, although the Debtor
          may have scheduled claims of various creditors as secured claims for informational
          purposes, no current valuation of the Debtor’s assets in which such creditors may
          have a security interest has been undertaken. The Debtor reserves all rights to
          dispute and challenge the secured nature or amount of any such creditor’s claims
          or the characterization of the structure of any transaction, or any document or
          instrument related to such creditor’s claim.

       c. In the ordinary course of their business, the Debtor may lease equipment from
          certain third-party lessors for use in the daily operation of its business. Any such
          leases are set forth in Schedule G and any current amount due under such leases
          that were outstanding as of the Commencement Date is listed on Schedule F. The
          property subject to any of such leases is not reflected in either Schedule A as either
          owned property or assets of the Debtor nor is such property reflected in the Debtor’s
          Statement of Financial Affairs as property or assets of third parties within the
          control of the Debtor, but is listed on Schedule B as equipment leased by the Debtor.
          Nothing in the Schedules is or shall be construed as an admission or determination
          as to the legal status of any lease (including whether any lease is a true lease or a
          financing arrangement), and the Debtors reserve all rights with respect to any of
          such issues, including the recharacterization thereof.

       d. The claims of individual creditors for, among other things, goods, products,
          services or taxes are listed as the amounts entered on the Debtor’s books and
          records and may not reflect credits, allowances or other adjustments due from such
          creditors to the Debtor. The Debtor reserves all of their rights with regard to such
          credits, allowances and other adjustments, including the right to assert claims
          objections and/or setoffs with respect to the same.

       e. The Debtor’s business is a complex enterprise. Although the Debtor has exercised
          its reasonable efforts to ensure the accuracy of their Schedules and Statements, they
          nevertheless may contain errors and omissions. The Debtor hereby reserves all of
          its rights to dispute the validity, status, and enforceability of any contracts,
          agreements, and leases set forth on the Schedules and Statements, and to amend
          and supplement the Schedules and Statements as necessary.

       f. The Debtor further reserves all of its rights, claims, and causes of action with
          respect to the contracts and agreements listed on the Schedules and Statements,
          including, but not limited to, the right to dispute and challenge the characterization
          or the structure of any transaction, document, and instrument related to a creditor’s
          claim.



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          g. Listing a contract or lease on the Schedules and Statements shall not be deemed an
             admission that such contract is an executory contract, such lease is an unexpired
             lease, or that either necessarily is a binding, valid, and enforceable contract. The
             Debtor hereby expressly reserves the right to assert that any contract listed on the
             Schedules and Statements does not constitute an executory contract within the
             meaning of section 365 of the Bankruptcy Code, as well as the right to assert that
             any lease so listed does not constitute an unexpired lease within the meaning of
             section 365 of the Bankruptcy Code.

   16. Global Notes Control. In the event that the Schedules or Statements differ from any of the
       foregoing Global Notes, the Global Notes shall control.

                                      SPECIFIC NOTES

In addition to the foregoing, the following conventions were adopted by the Debtor in the
preparation of the Schedules and Statements:

   1. Schedule A/B.

          a. Generally. To the extent a line item pertaining to the Debtor’s assets indicates a
             value of “$0.00,” the Debtor notes that such amount is either “unknown” or
             “undetermined” and such “$0.00” designation does not constitute an admission that
             assets are, in fact, valued at “$0.00.” Because certain assets or liabilities are noted
             as “$0.00,” summary line items in Schedule A/B reflect totals that may be less than
             the ultimate value of such assets or liabilities.

          b. Items 60-64. The omission of any patent, trademark, copyright, trade secret or
             other intellectual property from Schedule A/B Items 60-64 does not constitute a
             waiver of any such patent, trademark, copyright, trade secret or other intellectual
             property.

          c. Item 72. The omission of any tax refund or net operating loss from Schedule A/B
             Item 72 does not constitute a waiver of any tax refund or net operating loss.

          d. Items 74 and 75. The omission of any counterclaim, claim, or cause of action from
             Schedule A/B Items 74 and 75 does not constitute a waiver of any such
             counterclaim, claim or cause of action.

   2. Schedule D.

          a. Based on the information currently available to the Debtor, the Debtor believes that
             Schedule D accurately reflects all creditors with secured claims against the Debtor.
             To the extent the Debtor discovers that any additional secured claims exist, the
             Debtor may amend Schedule D accordingly to reflect such claims.

          b. Except as specifically stated herein, real property lessors, utility companies and
             other parties that may hold security deposits may not have been listed on Schedule
             D.

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       c. The Debtor reserves all of its rights to amend Schedule D to the extent that the
          Debtor determines that any claims associated with such agreement should be
          reported on Schedule D. Nothing herein shall be construed as an admission by the
          Debtor of the legal rights of the claimant, deemed a modification or interpretation
          of the terms of any agreement, or considered a waiver of the Debtor’s rights to
          recharacterize or reclassify any claim or contract.

       d. The Debtor has not included on Schedule D parties that may believe their claims
          are secured through setoff rights or inchoate statutory lien rights.

       e. Except as otherwise agreed or ordered by the Bankruptcy Court, the Debtor reserves
          its rights to dispute or challenge the validity, perfection or immunity from
          avoidance of any lien purported to be granted or perfected in any specific asset of
          a secured creditor of the Debtor. Moreover, the Debtor reserves all of its rights to
          dispute or challenge the secured nature of any such creditor’s claim or the
          characterization of the structure of any such transaction or any document or
          instrument related to such creditor’s claim.

 3. Schedule E/F.

       a. The Debtor has used reasonable efforts to report all unsecured claims against the
          Debtor on Schedule E/F based upon the Debtor’s existing books and records that
          were in Debtor’s possession or to which the Debtor had access as of the Petition
          Date. The claims listed on Schedule E/F arose or were incurred on various dates.
          In certain instances, the date on which a claim arose is an open issue of fact.
          Although reasonable efforts have been made to identify the date of incurrence of
          each claim, determination of the date that each claim in Schedule E/F was incurred
          or arose would be unduly burdensome and cost prohibitive. Therefore, while the
          Debtor does not list a date for each claim listed on Schedule E/F, to the best of the
          Debtor’s knowledge, all claims listed on Schedule E/F have arisen or were incurred
          before the Petition Date.

       b. The Debtor reserves the right to assert any such claims are contingent, unliquidated
          and/or disputed, as applicable.

       c. The Debtor reserves the right to assert that any claim listed on Schedule E/F does
          not constitute a priority claim under section 507 of the Bankruptcy Code and thus
          constitutes an unsecured nonpriority claim.

       d. Schedule E/F does not include certain balances including deferred liabilities,
          accruals, or general reserves. Such accruals primarily represent general estimates
          of liabilities and do not represent specific claims as of the Petition Date. The Debtor
          has made reasonable efforts to include as contingent, unliquidated and/or disputed
          the claim of any party not included on the Debtor’s open accounts payable that is
          associated with an account that has accrual or receipt not invoiced.

       e. The claims of individual creditors may not reflect credits and/or allowances due
          from creditors to the Debtor. The Debtor reserves all of its rights with respect to
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          any such credits and/or allowances, including the right to assert objections and/or
          setoffs with respect to same.

       f. Schedule E/F does not include pending litigations or legal actions involving the
          Debtor. However, these are reflected in response to Question 7 in the Statements.
          In all instances, the amount that is the subject of the litigation is uncertain or
          undetermined. The Debtors believe that the amount of any potential claims
          associated with any such pending litigation is contingent, unliquidated, and
          disputed. The inclusion of any litigation in the Statements or otherwise does not
          constitute an admission of liability alleged in such litigation.

       g. To the extent they are known, Schedule E/F represents the prepetition amounts
          owing to counterparties to executory contracts and unexpired leases. Such
          prepetition amounts, however, may be paid in connection with the assumption or
          the assumption and assignment of an executory contract or unexpired lease.
          Additionally, Schedule E/F does not include potential rejection damage claims, if
          any, of the counterparties to executory contracts and unexpired leases that may be
          rejected.

 4. Schedule G.

       a. Although the Debtor’s existing records and information systems to which the
          Debtor has access have been relied upon to identify and schedule executory
          contracts and unexpired leases and reasonable efforts have been made to ensure the
          accuracy of Schedule G, inadvertent errors or omissions may have occurred. The
          Debtor reserves all rights to dispute the validity, status, or enforceability of any
          contracts, agreements, or leases set forth in Schedule G and to amend or supplement
          Schedule G as necessary. The contracts, agreements and leases listed therein may
          have expired or been modified, amended, or supplemented from time to time by
          various amendments, restatement, waivers, estoppel certificates, letters,
          memoranda and other documents, instruments, and agreements which may not be
          listed therein.

       b. The presence of a contract or agreement on Schedule G does not constitute an
          admission as to the existence, validity or enforceability of the contract or
          agreement, or that such contract or agreement is an executory contract or unexpired
          lease, and the omission of a contract or agreement from Schedule G does not
          constitute an admission that a contract or agreement does not exist. The Debtor
          reserves all rights, claims, and causes of action with respect to the contracts and
          agreements listed on Schedule G, including the rights to dispute or challenge the
          characterization or the structure of any transaction document or instrument. Certain
          executory agreements may not have been memorialized in writing and could be
          subject to dispute.

       c. The Debtor utilizes two identification codes for contracts with commercial
          Counterparties which are associated with Government Prime Contracts. **
          indicates Debtor’s performance as a subcontractor under a Government Prime

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           Contract held by the Counterparty. ^ indicates the Counterparty is a subcontractor
           to the Debtor, where the Debtor is performing in support of a Government Prime
           Contract as either a prime contractor or as a subcontractor to a commercial
           Counterparty which holds a prime contract with the Government. For contracts
           where neither code is indicated, Debtor is contracted directly with the Government
           via the cited contract.

 5. Schedule H.

       a. The Debtor may not have identified certain guarantees associated with the Debtor’s
          executory contracts, unexpired leases, secured financings, debt instruments, and
          other such agreements. The Debtors reserve all of their rights to amend the
          Schedules to the extent that additional guarantees are identified or such guarantees
          are discovered to have expired or be unenforceable.

       b. In the ordinary course of their business, the Debtor may be involved in pending or
          threatened litigation. These matters may involve multiple plaintiffs and defendants,
          some or all of whom may assert cross-claims and counter-claims against other
          parties. Because all such claims are contingent, disputed and/or unliquidated, such
          claims have not been set forth individually on Schedule H.

       c. Debtor parent BMT Group is a co-debtor on certain obligations to contract
          counterparty Vigor Works LLC. In January of 2021, BMT Group posted a
          $1,000,000 performance bond with Barclay’s Bank PLC in favor of Vigor Works
          LLC to guarantee Debtor’s performance under the contract. Upon information and
          belief, the performance bond reflects the full extent of BMT Group’s exposure as
          co-debtor or guarantor.

 6. Specific Notes Regarding the Debtor’s Statement of Financial Affairs.

       a. Statement Questions 1 and 2. Gross revenue and non-business revenue to filing
          date reflects revenue through December 2021 due to January month not having
          closed as of Filing Date.

       b. Statement Question 7. The Debtor has made reasonable best efforts to identity all
          current pending litigation, investigation and other legal actions involving the
          Debtor. However, certain omissions may have occurred. The inclusion of any legal
          action in this question does not constitute an admission by the Debtor of any
          liability, the validity of any litigation or the amount of any potential claim that may
          result from any claims with respect to any legal action and the amount and treatment
          of any potential claim resulting from any legal action currently pending or that may
          arise in the future.

       c. Statement Question 17. The BMT Designers & Planners 401(k) Tax Deferral and
          Savings Plan (Plan# 48315) has been terminated effective January 31, 2022 by
          resolution of the Board of Directors, and termination paperwork has been submitted
          to the appropriate administrators to that effect. The Debtor has been informed that
          administrative process to effectuate the termination may take 30-60 days,
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                 notwithstanding that the termination effective date will be reflected as January 31,
                 2022 for all legal and practical purposes.

              d. Statement Questions 28 and 29. The Debtor has made reasonable best efforts to
                 list the known current and former officers and directors of the Debtor on a review
                 of available books and records and other available information which may not be
                 complete and updated as of the Petition Date.
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 Fill in this information to identify the case:

 Debtor name         BMT Designers & Planners, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                    Check if this is an
                                                                                                                                    amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                  04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                   Gross revenue
       which may be a calendar year                                                            Check all that apply                 (before deductions and
                                                                                                                                    exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                    $10,005,981.25
       From 10/02/2021 to Filing Date
                                                                                                   Other



       For prior year:                                                                             Operating a business                    $12,822,900.00
       From 10/03/2020 to 10/01/2021
                                                                                                   Other



       For year before that:                                                                       Operating a business                    $28,820,364.00
       From 9/27/2019 to 10/02/2020
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue    Gross revenue from
                                                                                                                                    each source
                                                                                                                                    (before deductions and
                                                                                                                                    exclusions)

       From the beginning of the fiscal year to filing date:                                   Interest Income,
       From 10/02/2021 to Filing Date                                                          Miscellaneous Income                               $1,316.10


       For prior year:                                                                         Interest Income,
       From 10/03/2020 to 10/01/2021                                                           Miscellaneous Income                               $1,037.43


       For year before that:                                                                   Interest Income,
       From 9/27/2019 to 10/02/2020                                                            Miscellaneous Income                              $20,881.80


 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              page 1
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 Debtor       BMT Designers & Planners, Inc.                                                            Case number (if known)




3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.1.
               AEROTEK, INC.                                               11/10/2021                       $26,612.03           Secured debt
               3689 COLLECTION CENTER DRIVE                                                                                      Unsecured loan repayments
               CHICAGO, IL 60693                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other Subcontractor


       3.2.
               AEROTEK, INC.                                               11/22/2021                       $10,496.00           Secured debt
               3689 COLLECTION CENTER DRIVE                                                                                      Unsecured loan repayments
               CHICAGO, IL 60693                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other Subcontractor


       3.3.
               AEROTEK, INC.                                               12/29/2021                         $3,017.60          Secured debt
               3689 COLLECTION CENTER DRIVE                                                                                      Unsecured loan repayments
               CHICAGO, IL 60693                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other Subcontractor


       3.4.
               AMERICAN EXPRESS                                            11/22/2021                       $29,034.04           Secured debt
               P.O. BOX 1270                                                                                                     Unsecured loan repayments
               NEWARK, NJ 7101                                                                                                   Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other Misc Expenses


       3.5.
               AMERICAN EXPRESS                                            1/5/2022                         $14,371.41           Secured debt
               P.O. BOX 1270                                                                                                     Unsecured loan repayments
               NEWARK, NJ 7101                                                                                                   Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other Misc Expenses


       3.6.
               ASTON CARTER, INC.                                          11/10/2021                         $6,780.00          Secured debt
               3689 COLLECTION CENTER DRIVE                                                                                      Unsecured loan repayments
               CHICAGO, IL 60693                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other Temp Labor


       3.7.
               ASTON CARTER, INC.                                          11/22/2021                         $2,260.00          Secured debt
               3689 COLLECTION CENTER DRIVE                                                                                      Unsecured loan repayments
               CHICAGO, IL 60693                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other Temp Labor




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       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.8.
               CHARLES ZIGELMAN                                            11/22/2021                       $12,186.00           Secured debt
               10621 GARDEN WAY                                                                                                  Unsecured loan repayments
               SPRING VALLEY, CA 91978                                                                                           Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other Consultants


       3.9.
               CONLEY AND ASSOCIATES INC                                   1/7/2022                         $20,652.40           Secured debt
               930 KEHRS MILL ROAD                                                                                               Unsecured loan repayments
               SUITE 319                                                                                                         Suppliers or vendors
               BALLWIN, MO 63011                                                                                                 Services
                                                                                                                                 Other Subcontractor


       3.10
       .
            DATA RESEARCH GROUP                                            11/10/2021                         $3,795.55          Secured debt
               233 EAST DAVIS STREET                                                                                             Unsecured loan repayments
               SUITE 400                                                                                                         Suppliers or vendors
               CULPEPER, VA 22701                                                                                                Services
                                                                                                                                 Other Subcontractor


       3.11
       .
            DATA RESEARCH GROUP                                            12/29/2021                         $5,532.25          Secured debt
               233 EAST DAVIS STREET                                                                                             Unsecured loan repayments
               SUITE 400                                                                                                         Suppliers or vendors
               CULPEPER, VA 22701                                                                                                Services
                                                                                                                                 Other Subcontractor


       3.12
       .
            DELL MARKETING L.P.                                            11/22/2021                         $9,416.50          Secured debt
               P.O. BOX 643561                                                                                                   Unsecured loan repayments
               C.O DELL USA L.P.
                                                                                                                                 Suppliers or vendors
               PITTSBURGH, PA 15264
                                                                                                                                 Services
                                                                                                                                 Other


       3.13
       .
            DELL MARKETING L.P.                                            1/14/2022                        $50,444.18           Secured debt
               P.O. BOX 643561                                                                                                   Unsecured loan repayments
               C.O DELL USA L.P.
                                                                                                                                 Suppliers or vendors
               PITTSBURGH, PA 15264
                                                                                                                                 Services
                                                                                                                                 Other


       3.14
       .
            GENESIS STAFFING                                               11/10/2021                       $30,666.56           Secured debt
               3517 LAUGHLIN DRIVE                                                                                               Unsecured loan repayments
               MOBILE, AL 36693                                                                                                  Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other Subcontractor


       3.15
       .
            GENESIS STAFFING                                               11/22/2021                         $2,080.00          Secured debt
               3517 LAUGHLIN DRIVE                                                                                               Unsecured loan repayments
               MOBILE, AL 36693                                                                                                  Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other Subcontractor




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                                                                                                                               Check all that apply
       3.16
       .
            GENESIS STAFFING                                               12/22/2021                       $13,852.00           Secured debt
               3517 LAUGHLIN DRIVE                                                                                               Unsecured loan repayments
               MOBILE, AL 36693                                                                                                  Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other Subcontractor


       3.17
       .
            GENESIS STAFFING                                               12/29/2021                         $4,908.00          Secured debt
               3517 LAUGHLIN DRIVE                                                                                               Unsecured loan repayments
               MOBILE, AL 36693                                                                                                  Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other Subcontractor


       3.18
       .
            GENESIS STAFFING                                               1/14/2022                          $9,277.27          Secured debt
               3517 LAUGHLIN DRIVE                                                                                               Unsecured loan repayments
               MOBILE, AL 36693                                                                                                  Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other Subcontractor


       3.19
       .
            GREGORY JOSE                                                   12/7/2021                        $11,631.55           Secured debt
               2900 S. QUINCY ST, SUITE 210                                                                                      Unsecured loan repayments
               Arlington, VA 22206                                                                                               Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other Employee Expense
                                                                                                                               Reimb

       3.20
       .
            HAROLD HANSON                                                  11/22/2021                       $12,501.83           Secured debt
               462 BELMONT BAY DRIVE                                                                                             Unsecured loan repayments
               WOODBRIDGE, VA 22191                                                                                              Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other Consultants


       3.21
       .
            HAROLD HANSON                                                  12/29/2021                           $937.50          Secured debt
               462 BELMONT BAY DRIVE                                                                                             Unsecured loan repayments
               WOODBRIDGE, VA 22191                                                                                              Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other Subcontractor


       3.22
       .
            JOHN MERCALDO                                                  12/29/2021                         $6,900.00          Secured debt
               21 WATERS EDGE                                                                                                    Unsecured loan repayments
               MARSTON MILLS, MA 2648                                                                                            Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other Subcontractor


       3.23
       .
            KELLY                                                          11/24/2021                      $170,005.89           Secured debt
               P.O. BOX 418926                                                                                                   Unsecured loan repayments
               BOSTON, MA 2241                                                                                                   Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other Health Insurance



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                                                                                                                               Check all that apply
       3.24
       .
            KELLY                                                          1/7/2022                        $143,970.65           Secured debt
               P.O. BOX 418926                                                                                                   Unsecured loan repayments
               BOSTON, MA 2241                                                                                                   Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other Health Insurance


       3.25
       .
            KELLY                                                          1/19/2022                       $145,354.26           Secured debt
               P.O. BOX 418926                                                                                                   Unsecured loan repayments
               BOSTON, MA 2241                                                                                                   Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other Health Insurance


       3.26
       .
            MARIN USA                                                      11/10/2021                       $42,500.00           Secured debt
               4203 MONTROSE BLVD                                                                                                Unsecured loan repayments
               SUITE 460                                                                                                         Suppliers or vendors
               HOUSTON, TX 77006
                                                                                                                                 Services
                                                                                                                                 Other


       3.27
       .
            MICROBIALINSIGHTS                                              1/20/2022                        $10,820.00           Secured debt
               10515 RESEARCH DRIVE                                                                                              Unsecured loan repayments
               KNOXVILLE, TN 23732                                                                                               Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other Subcontractor


       3.28
       .
            NOISE CONTROL ENG., INC.                                       11/10/2021                       $18,906.20           Secured debt
               85 RANGEWAY ROAD                                                                                                  Unsecured loan repayments
               BLDG 2, 2ND FLOOR                                                                                                 Suppliers or vendors
               BILLERICA, MA 1862                                                                                                Services
                                                                                                                                 Other Subcontractor


       3.29
       .
            NORTHROP GRUMMAN                                               12/29/2021                      $594,815.88           Secured debt
               P.O. BOX 301321                                                                                                   Unsecured loan repayments
               DALLAS, TX 75303                                                                                                  Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other Subcontractor


       3.30
       .
            NORTHROP GRUMMAN                                               1/4/2022                        $237,034.31           Secured debt
               P.O. BOX 301321                                                                                                   Unsecured loan repayments
               DALLAS, TX 75303                                                                                                  Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other Subcontractor


       3.31
       .
            ODGERS & BERNDTSON                                             11/10/2021                       $28,000.00           Secured debt
               1100 CONNECTICUT AVENUE NW                                                                                        Unsecured loan repayments
               SUITE 800                                                                                                         Suppliers or vendors
               WASHINGTON, DC 20036
                                                                                                                                 Services
                                                                                                                                 Other




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                                                                                                                               Check all that apply
       3.32
       .
            ODGERS & BERNDTSON                                             11/22/2021                       $28,000.00           Secured debt
               1100 CONNECTICUT AVENUE NW                                                                                        Unsecured loan repayments
               SUITE 800                                                                                                         Suppliers or vendors
               WASHINGTON, DC 20036
                                                                                                                                 Services
                                                                                                                                 Other


       3.33
       .
            PEERLESS TECH SOLUTIONS LLC                                    11/10/2021                       $10,870.50           Secured debt
               101 E CHARLES STREET                                                                                              Unsecured loan repayments
               SUITE 302                                                                                                         Suppliers or vendors
               LA PLATA, MD 20646
                                                                                                                                 Services
                                                                                                                                 Other


       3.34
       .
            PEERLESS TECH SOLUTIONS LLC                                    1/7/2022                         $10,870.50           Secured debt
               101 E CHARLES STREET                                                                                              Unsecured loan repayments
               SUITE 302                                                                                                         Suppliers or vendors
               LA PLATA, MD 20646
                                                                                                                                 Services
                                                                                                                                 Other


       3.35
       .
            RUBINO & MCGEEHIN                                              11/10/2021                         $9,287.50          Secured debt
               6903 ROCKLEDGE DRIVE                                                                                              Unsecured loan repayments
               SUITE 1200                                                                                                        Suppliers or vendors
               BETHESDA, MD 20817
                                                                                                                                 Services
                                                                                                                                 Other


       3.36
       .
            SHIPCONSTRUCTOR USA                                            11/10/2021                       $24,535.63           Secured debt
               2070 SCHILLINGER ROAD S                                                                                           Unsecured loan repayments
               MOBILE, AL 36695                                                                                                  Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other Software Subscription


       3.37
       .
            SHIPCONSTRUCTOR USA                                            11/22/2021                         $6,114.97          Secured debt
               2070 SCHILLINGER ROAD S                                                                                           Unsecured loan repayments
               MOBILE, AL 36695                                                                                                  Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other Software Subscription


       3.38
       .
            SHIRLINGTON TOWER PROPERTY                                     11/29/2021                       $32,011.81           Secured debt
               OWNER LLC                                                                                                         Unsecured loan repayments
               P.O. BOX 70392                                                                                                    Suppliers or vendors
               NEWARK, NJ 7101                                                                                                   Services
                                                                                                                                 Other Rent


       3.39
       .
            SHIRLINGTON TOWER PROPERTY                                     1/4/2022                         $31,688.94           Secured debt
               OWNER LLC                                                                                                         Unsecured loan repayments
               P.O. BOX 70392                                                                                                    Suppliers or vendors
               NEWARK, NJ 7101                                                                                                   Services
                                                                                                                                 Other Rent




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       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.40
       .
            SPECTRUM FINANCIAL SERVICES                                    1/14/2022                          $7,356.26          Secured debt
               8614 WESTWOOD CENTER DRIVE                                                                                        Unsecured loan repayments
               SUITE 700                                                                                                         Suppliers or vendors
               VIENNA, VA 22182                                                                                                  Services
                                                                                                                                 Other Consultants


       3.41
       .
            SUMMIT 7 SYSTEMS                                               11/10/2021                         $9,977.40          Secured debt
               2 PARADE STREET                                                                                                   Unsecured loan repayments
               HUNTVILLE, AL 35806                                                                                               Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.42
       .
            TERESA RYAN                                                    11/22/2021                         $8,800.00          Secured debt
               24928 PEARMAIN CT.                                                                                                Unsecured loan repayments
               ALDIE, VA 20105                                                                                                   Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other Subcontractor


       3.43
       .
            TERESA RYAN                                                    1/14/2022                          $4,200.00          Secured debt
               24928 PEARMAIN CT.                                                                                                Unsecured loan repayments
               ALDIE, VA 20105                                                                                                   Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other Subcontractor


       3.44
       .
            UNISENSE                                                       11/10/2021                         $5,317.00          Secured debt
               TUEAGER 1                                                                                                         Unsecured loan repayments
               8200 ARHUS N                                                                                                      Suppliers or vendors
               Denmark                                                                                                           Services
                                                                                                                                 Other Subcontractor


       3.45
       .
            UNISENSE                                                       1/7/2022                           $5,317.00          Secured debt
               TUEAGER 1                                                                                                         Unsecured loan repayments
               8200 ARHUS N                                                                                                      Suppliers or vendors
               Denmark                                                                                                           Services
                                                                                                                                 Other Subcontractor


       3.46
       .
            UNISON SYSTEMS, INC.                                           11/10/2021                       $66,729.39           Secured debt
               6130 GREENWOOD PLAZA BLVD                                                                                         Unsecured loan repayments
               SUITE 100                                                                                                         Suppliers or vendors
               GREENWOOD, CO 80111                                                                                               Services
                                                                                                                                 Other Subcontractor


       3.47
       .
            UNISON SYSTEMS, INC.                                           11/22/2021                       $25,664.90           Secured debt
               6130 GREENWOOD PLAZA BLVD                                                                                         Unsecured loan repayments
               SUITE 100                                                                                                         Suppliers or vendors
               GREENWOOD, CO 80111                                                                                               Services
                                                                                                                                 Other Subcontractor




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                                                                                                                               Check all that apply
       3.48
       .
            UNISON SYSTEMS, INC.                                           12/29/2021                         $9,441.30          Secured debt
               6130 GREENWOOD PLAZA BLVD                                                                                         Unsecured loan repayments
               SUITE 100                                                                                                         Suppliers or vendors
               GREENWOOD, CO 80111                                                                                               Services
                                                                                                                                 Other Subcontractor


       3.49
       .
            UNISON SYSTEMS, INC.                                           1/14/2022                        $22,180.80           Secured debt
               6130 GREENWOOD PLAZA BLVD                                                                                         Unsecured loan repayments
               SUITE 100                                                                                                         Suppliers or vendors
               GREENWOOD, CO 80111                                                                                               Services
                                                                                                                                 Other Subcontractor



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

       Insider's name and address                                          Dates                 Total amount of value         Reasons for payment or transfer
       Relationship to debtor
       4.1.    Thomas F Atkin                                              2/26/2021                          $2,500.00        Board of Directors
               2900 S. QUINCY ST, SUITE 210                                                                                    Compensation
               Arlington, VA 22206
               Proxy Holder, Outside Board Member

       4.2.    Thomas F Atkin                                              5/25/2021                          $2,500.00        Board of Directors
               2900 S. QUINCY ST, SUITE 210                                                                                    Compensation
               Arlington, VA 22206
               Proxy Holder, Outside Board Member

       4.3.    Thomas F Atkin                                              8/19/2021                          $2,500.00        Board of Directors
               2900 S. QUINCY ST, SUITE 210                                                                                    Compensation
               Arlington, VA 22206
               Proxy Holder, Outside Board Member

       4.4.    Thomas F Atkin                                              12/29/2021                         $2,500.00        Board of Directors
               2900 S. QUINCY ST, SUITE 210                                                                                    Compensation
               Arlington, VA 22206
               Proxy Holder, Outside Board Member

       4.5.    David Bardash                                               2/12/2021                          $6,688.00        Salary
               2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Commercial

       4.6.    David Bardash                                               2/26/2021                          $6,720.00        Salary
               2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Commercial

       4.7.    David Bardash                                               3/12/2021                          $6,656.00        Salary
               2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Commercial


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       Insider's name and address                                          Dates                 Total amount of value         Reasons for payment or transfer
       Relationship to debtor
       4.8.    David Bardash                                               3/26/2021                          $5,568.00        Salary
               2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Commercial

       4.9.    David Bardash                                               4/9/2021                           $5,888.00        Salary
               2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Commercial

       4.10 David Bardash                                                  4/23/2021                          $5,920.00        Salary
       .    2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Commercial

       4.11 David Bardash                                                  5/7/2021                           $5,120.00        Salary
       .    2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Commercial

       4.12 David Bardash                                                  5/21/2021                          $5,248.00        Salary
       .    2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Commercial

       4.13 David Bardash                                                  6/4/2021                           $6,240.00        Salary
       .    2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Commercial

       4.14 David Bardash                                                  6/18/2021                          $5,408.00        Salary
       .    2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Commercial

       4.15 David Bardash                                                  7/2/2021                           $6,272.00        Salary
       .    2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Commercial

       4.16 David Bardash                                                  7/16/2021                          $5,600.00        Salary
       .    2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Commercial

       4.17 David Bardash                                                  7/30/2021                          $6,579.20        Salary
       .    2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Commercial

       4.18 David Bardash                                                  8/13/2021                          $5,576.92        Salary
       .    2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Commercial

       4.19 David Bardash                                                  8/27/2021                          $5,576.92        Salary
       .    2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Commercial




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       Insider's name and address                                          Dates                 Total amount of value         Reasons for payment or transfer
       Relationship to debtor
       4.20 David Bardash                                                  9/10/2021                          $5,576.92        Salary
       .    2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Commercial

       4.21 David Bardash                                                  9/24/2021                          $5,334.45        Salary
       .    2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Commercial

       4.22 David Bardash                                                  9/24/2021                            $242.47        Vacation Pay
       .    2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Commercial

       4.23 David Bardash                                                  10/5/2021                            $159.00        Misc Business Expenses
       .    2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Commercial

       4.24 David Bardash                                                  10/8/2021                          $5,576.92        Salary
       .    2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Commercial

       4.25 David Bardash                                                  10/22/2021                         $5,576.92        Salary
       .    2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Commercial

       4.26 David Bardash                                                  11/5/2021                          $5,576.92        Salary
       .    2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Commercial

       4.27 David Bardash                                                  11/19/2021                         $5,576.92        Salary
       .    2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Commercial

       4.28 David Bardash                                                  12/3/2021                          $5,576.92        Salary
       .    2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Commercial

       4.29 David Bardash                                                  12/17/2021                         $5,576.92        Salary
       .    2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Commercial

       4.30 David Bardash                                                  12/30/2021                         $5,576.92        Salary
       .    2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Commercial

       4.31 David Bardash                                                  12/30/2021                           $280.44        Vacation Pay
       .    2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Commercial




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 Debtor      BMT Designers & Planners, Inc.                                                             Case number (if known)



       Insider's name and address                                          Dates                 Total amount of value         Reasons for payment or transfer
       Relationship to debtor
       4.32 David Bardash                                                  1/14/2022                          $5,576.92        Salary
       .    2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Commercial

       4.33 David Bardash                                                  1/28/2022                          $5,576.62        Salary
       .    2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Commercial

       4.34 BMT Commercial USA, INC.                                       2/3/2021                         $83,602.00         Intercompany
       .    6639 THEALL ROAD
               HOUSTON, TX 77066
               Affiliate

       4.35 BMT Defence and Security UK Ltd                                2/3/2021                         $82,448.80         Intercompany
       .    MARITIME HOUSE
               210 LOWER BRISTOL ROAD
               BATH BA2 3DQ UK
               Affiliate

       4.36 BMT Defence and Security UK Ltd                                3/23/2021                       $172,722.65         Intercompany
       .    MARITIME HOUSE
               210 LOWER BRISTOL ROAD
               BATH BA2 3DQ UK
               Affiliate

       4.37 BMT Defence and Security UK Ltd                                6/1/2021                        $102,937.42         Intercompany
       .    MARITIME HOUSE
               210 LOWER BRISTOL ROAD
               BATH BA2 3DQ UK
               Affiliate

       4.38 BMT Defence and Security UK Ltd                                6/18/2021                        $52,780.51         Intercompany
       .    MARITIME HOUSE
               210 LOWER BRISTOL ROAD
               BATH BA2 3DQ UK
               Affiliate

       4.39 BMT Group LTD                                                  6/1/2021                        $350,000.00         Intercompany
       .    1 PARK ROAD
               TEDDINGTON TW 1 0AP UK
               Affiliate

       4.40 BMT Group LTD                                                  6/18/2021                       $217,800.00         Intercompany
       .    1 PARK ROAD
               TEDDINGTON TW 1 0AP UK
               Affiliate

       4.41 BMT International, INC.                                        7/12/2021                          $1,462.50        Intercompany
       .    6639 THEALL ROAD
               HOUSTON, TX 77066
               Affiliate

       4.42 BMT UK LTD                                                     2/3/2021                         $80,174.35         Intercompany
       .    SHAMROCK QUAY, WILLIAM STREET
               BUILDING 14
               SOUTHAMPTON SO14 5QL UK
               Affiliate




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 Debtor      BMT Designers & Planners, Inc.                                                             Case number (if known)



       Insider's name and address                                          Dates                 Total amount of value         Reasons for payment or transfer
       Relationship to debtor
       4.43 BMT UK LTD                                                     2/24/2021                        $55,000.00         Intercompany
       .    SHAMROCK QUAY, WILLIAM STREET
               BUILDING 14
               SOUTHAMPTON SO14 5QL UK
               Affiliate

       4.44 BMT UK LTD                                                     3/23/2021                       $143,615.45         Intercompany
       .    SHAMROCK QUAY, WILLIAM STREET
               BUILDING 14
               SOUTHAMPTON SO14 5QL UK
               Affiliate

       4.45 BMT UK LTD                                                     6/1/2021                         $65,000.00         Intercompany
       .    SHAMROCK QUAY, WILLIAM STREET
               BUILDING 14
               SOUTHAMPTON SO14 5QL UK
               Affiliate

       4.46 BMT UK LTD                                                     6/18/2021                        $83,524.00         Intercompany
       .    SHAMROCK QUAY, WILLIAM STREET
               BUILDING 14
               SOUTHAMPTON SO14 5QL UK
               Affiliate

       4.47 BMT UK LTD                                                     6/21/2021                       $100,322.00         Intercompany
       .    SHAMROCK QUAY, WILLIAM STREET
               BUILDING 14
               SOUTHAMPTON SO14 5QL UK
               Affiliate

       4.48 BMT UK LTD                                                     10/19/2021                       $95,000.00         Intercompany
       .    SHAMROCK QUAY, WILLIAM STREET
               BUILDING 14
               SOUTHAMPTON SO14 5QL UK
               Affiliate

       4.49 BMT UK LTD                                                     10/20/2021                       $25,000.00         Intercompany
       .    SHAMROCK QUAY, WILLIAM STREET
               BUILDING 14
               SOUTHAMPTON SO14 5QL UK
               Affiliate

       4.50 BMT UK LTD                                                     10/25/2021                       $82,641.00         Intercompany
       .    SHAMROCK QUAY, WILLIAM STREET
               BUILDING 14
               SOUTHAMPTON SO14 5QL UK
               Affiliate

       4.51 Richard Celotto                                                2/12/2021                          $5,576.92        Salary
       .    2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Compliance and Advisory Services

       4.52 Richard Celotto                                                2/26/2021                            $278.85        Vacation Pay
       .    2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Compliance and Advisory Services

       4.53 Richard Celotto                                                2/26/2021                          $5,298.07        Salary
       .    2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Compliance and Advisory Services
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 Debtor      BMT Designers & Planners, Inc.                                                             Case number (if known)



       Insider's name and address                                          Dates                 Total amount of value         Reasons for payment or transfer
       Relationship to debtor
       4.54 Richard Celotto                                                3/12/2021                          $1,394.23        Vacation Pay
       .    2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Compliance and Advisory Services

       4.55 Richard Celotto                                                3/12/2021                          $4,182.69        Salary
       .    2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Compliance and Advisory Services

       4.56 Richard Celotto                                                3/26/2021                          $5,576.92        Salary
       .    2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Compliance and Advisory Services

       4.57 Richard Celotto                                                4/9/2021                             $278.85        Vacation Pay
       .    2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Compliance and Advisory Services

       4.58 Richard Celotto                                                4/9/2021                           $5,298.07        Salary
       .    2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Compliance and Advisory Services

       4.59 Richard Celotto                                                4/23/2021                          $5,576.92        Salary
       .    2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Compliance and Advisory Services

       4.60 Richard Celotto                                                5/7/2021                           $3,903.85        Vacation Pay
       .    2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Compliance and Advisory Services

       4.61 Richard Celotto                                                5/7/2021                           $1,673.07        Salary
       .    2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Compliance and Advisory Services

       4.62 Richard Celotto                                                5/21/2021                          $5,311.35        Salary
       .    2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Compliance and Advisory Services

       4.63 Richard Celotto                                                6/4/2021                             $531.14        Vacation Pay
       .    2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Compliance and Advisory Services

       4.64 Richard Celotto                                                6/4/2021                           $4,766.93        Salary
       .    2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Compliance and Advisory Services

       4.65 Richard Celotto                                                6/11/2021                            $299.00        Misc Expenses
       .    2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Compliance and Advisory Services




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 Debtor      BMT Designers & Planners, Inc.                                                             Case number (if known)



       Insider's name and address                                          Dates                 Total amount of value         Reasons for payment or transfer
       Relationship to debtor
       4.66 Richard Celotto                                                6/18/2021                            $278.86        Vacation Pay
       .    2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Compliance and Advisory Services

       4.67 Richard Celotto                                                6/18/2021                          $5,019.21        Salary
       .    2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Compliance and Advisory Services

       4.68 Richard Celotto                                                7/2/2021                           $5,576.92        Vacation Pay
       .    2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Compliance and Advisory Services

       4.69 Richard Celotto                                                7/16/2021                          $5,576.92        Salary
       .    2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Compliance and Advisory Services

       4.70 Richard Celotto                                                7/30/2021                          $5,576.92        Salary
       .    2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Compliance and Advisory Services

       4.71 Richard Celotto                                                8/13/2021                          $4,740.37        Salary
       .    2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Compliance and Advisory Services

       4.72 Richard Celotto                                                8/13/2021                            $557.70        Vacation Pay
       .    2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Compliance and Advisory Services

       4.73 Richard Celotto                                                8/27/2021                          $3,903.84        Salary
       .    2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Compliance and Advisory Services

       4.74 Richard Celotto                                                8/27/2021                          $1,673.08        Vacation Pay
       .    2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Compliance and Advisory Services

       4.75 Richard Celotto                                                9/1/2021                               $70.89       Misc Expenses
       .    2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Compliance and Advisory Services

       4.76 Richard Celotto                                                9/10/2021                          $2,788.46        Salary
       .    2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Compliance and Advisory Services

       4.77 Richard Celotto                                                9/10/2021                          $2,788.46        Vacation Pay
       .    2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Compliance and Advisory Services




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       Insider's name and address                                          Dates                 Total amount of value         Reasons for payment or transfer
       Relationship to debtor
       4.78 Richard Celotto                                                9/24/2021                          $5,019.21        Salary
       .    2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Compliance and Advisory Services

       4.79 Richard Celotto                                                9/24/2021                            $278.86        Vacation Pay
       .    2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Compliance and Advisory Services

       4.80 Richard Celotto                                                10/5/2021                            $139.00        Misc Expenses
       .    2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Compliance and Advisory Services

       4.81 Richard Celotto                                                10/8/2021                            $278.86        Vacation Pay
       .    2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Compliance and Advisory Services

       4.82 Richard Celotto                                                10/8/2021                          $5,298.06        Salary
       .    2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Compliance and Advisory Services

       4.83 Richard Celotto                                                10/22/2021                           $278.86        Vacation Pay
       .    2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Compliance and Advisory Services

       4.84 Richard Celotto                                                10/22/2021                         $5,298.06        Salary
       .    2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Compliance and Advisory Services

       4.85 Richard Celotto                                                11/5/2021                            $557.70        Vacation Pay
       .    2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Compliance and Advisory Services

       4.86 Richard Celotto                                                11/5/2021                          $5,019.22        Salary
       .    2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Compliance and Advisory Services

       4.87 Richard Celotto                                                11/19/2021                         $5,576.92        Salary
       .    2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Compliance and Advisory Services

       4.88 Richard Celotto                                                11/19/2021                         $1,696.94        Misc Expenses
       .    2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Compliance and Advisory Services

       4.89 Richard Celotto                                                12/3/2021                          $5,019.21        Salary
       .    2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Compliance and Advisory Services




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 Debtor      BMT Designers & Planners, Inc.                                                             Case number (if known)



       Insider's name and address                                          Dates                 Total amount of value         Reasons for payment or transfer
       Relationship to debtor
       4.90 Richard Celotto                                                12/7/2021                            $175.00        Misc Expenses
       .    2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Compliance and Advisory Services

       4.91 Richard Celotto                                                12/17/2021                         $5,576.92        Salary
       .    2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Compliance and Advisory Services

       4.92 Richard Celotto                                                12/30/2021                         $5,576.92        Salary
       .    2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Compliance and Advisory Services

       4.93 Richard Celotto                                                1/14/2022                          $5,304.86        Salary
       .    2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Compliance and Advisory Services

       4.94 Richard Celotto                                                1/28/2022                          $2,230.77        Vacation Pay
       .    2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Compliance and Advisory Services

       4.95 Richard Celotto                                                1/28/2022                          $3,346.15        Salary
       .    2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Compliance and Advisory Services

       4.96 Rita Chaundy                                                   10/8/2021                          $6,346.16        Salary
       .    2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Finance

       4.97 Rita Chaundy                                                   10/22/2021                         $6,346.16        Salary
       .    2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Finance

       4.98 Rita Chaundy                                                   11/5/2021                          $6,346.16        Salary
       .    2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Finance

       4.99 Rita Chaundy                                                   11/19/2021                         $6,346.16        Salary
       .    2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Finance

       4.10 Rita Chaundy                                                   12/3/2021                          $6,346.16        Salary
       0.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Finance

       4.10 Rita Chaundy                                                   12/3/2021                            $317.30        Vacation Pay
       1.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Finance




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 Debtor      BMT Designers & Planners, Inc.                                                             Case number (if known)



       Insider's name and address                                          Dates                 Total amount of value         Reasons for payment or transfer
       Relationship to debtor
       4.10 Rita Chaundy                                                   12/17/2021                         $6,346.16        Salary
       2.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Finance

       4.10 Rita Chaundy                                                   12/30/2021                         $6,346.16        Salary
       3.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Finance

       4.10 Rita Chaundy                                                   1/14/2022                          $6,346.16        Salary
       4.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Finance

       4.10 Rita Chaundy                                                   1/28/2022                          $6,346.16        Salary
       5.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Finance

       4.10 Robert Corey                                                   12/3/2021                          $4,230.77        Salary
       6.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Engineering

       4.10 Robert Corey                                                   12/17/2021                         $8,461.54        Salary
       7.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Engineering

       4.10 Robert Corey                                                   12/30/2021                         $8,501.74        Salary
       8.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Engineering

       4.10 Ricky Cox                                                      2/12/2021                          $6,153.86        Salary
       9.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Business Development

       4.11 Ricky Cox                                                      2/26/2021                          $6,153.86        Salary
       0.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Business Development

       4.11 Ricky Cox                                                      3/12/2021                          $6,153.86        Salary
       1.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Business Development

       4.11 Ricky Cox                                                      3/26/2021                            $518.22        Business Development
       2.   2900 S. QUINCY ST, SUITE 210                                                                                       Expenses
               Arlington, VA 22206
               VP, Business Development

       4.11 Ricky Cox                                                      3/26/2021                          $5,635.64        Salary
       3.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Business Development




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       Insider's name and address                                          Dates                 Total amount of value         Reasons for payment or transfer
       Relationship to debtor
       4.11 Ricky Cox                                                      4/2/2021                             $269.14        Business Development
       4.   2900 S. QUINCY ST, SUITE 210                                                                                       Expenses
               Arlington, VA 22206
               VP, Business Development

       4.11 Ricky Cox                                                      4/9/2021                           $6,153.86        Salary
       5.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Business Development

       4.11 Ricky Cox                                                      4/23/2021                          $5,661.55        Salary
       6.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Business Development

       4.11 Ricky Cox                                                      5/7/2021                           $6,384.62        Salary
       7.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Business Development

       4.11 Ricky Cox                                                      5/21/2021                            $992.95        Business Development
       8.   2900 S. QUINCY ST, SUITE 210                                                                                       Expenses
               Arlington, VA 22206
               VP, Business Development

       4.11 Ricky Cox                                                      5/21/2021                          $5,391.67        Salary
       9.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Business Development

       4.12 Ricky Cox                                                      6/4/2021                           $2,100.57        Business Development
       0.   2900 S. QUINCY ST, SUITE 210                                                                                       Expenses
               Arlington, VA 22206
               VP, Business Development

       4.12 Ricky Cox                                                      6/4/2021                           $4,284.05        Salary
       1.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Business Development

       4.12 Ricky Cox                                                      6/18/2021                          $1,216.12        Business Development
       2.   2900 S. QUINCY ST, SUITE 210                                                                                       Expenses
               Arlington, VA 22206
               VP, Business Development

       4.12 Ricky Cox                                                      6/18/2021                          $5,168.50        Salary
       3.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Business Development

       4.12 Ricky Cox                                                      7/2/2021                           $6,384.62        Salary
       4.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Business Development

       4.12 Ricky Cox                                                      7/16/2021                          $6,384.62        Salary
       5.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Business Development




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       Insider's name and address                                          Dates                 Total amount of value         Reasons for payment or transfer
       Relationship to debtor
       4.12 Ricky Cox                                                      7/30/2021                          $6,384.62        Salary
       6.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Business Development

       4.12 Ricky Cox                                                      8/5/2021                           $1,358.36        Business Development
       7.   2900 S. QUINCY ST, SUITE 210                                                                                       Expenses
               Arlington, VA 22206
               VP, Business Development

       4.12 Ricky Cox                                                      8/13/2021                            $277.59        Business Development
       8.   2900 S. QUINCY ST, SUITE 210                                                                                       Expenses
               Arlington, VA 22206
               VP, Business Development

       4.12 Ricky Cox                                                      8/13/2021                          $6,107.03        Salary
       9.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Business Development

       4.13 Ricky Cox                                                      8/20/2021                          $1,676.65        Business Development
       0.   2900 S. QUINCY ST, SUITE 210                                                                                       Expenses
               Arlington, VA 22206
               VP, Business Development

       4.13 Ricky Cox                                                      8/27/2021                            $500.76        Business Development
       1.   2900 S. QUINCY ST, SUITE 210                                                                                       Expenses
               Arlington, VA 22206
               VP, Business Development

       4.13 Ricky Cox                                                      8/27/2021                          $5,586.90        Salary
       2.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Business Development

       4.13 Ricky Cox                                                      9/10/2021                            $573.90        Business Development
       3.   2900 S. QUINCY ST, SUITE 210                                                                                       Expenses
               Arlington, VA 22206
               VP, Business Development

       4.13 Ricky Cox                                                      9/10/2021                          $5,810.72        Salary
       4.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Business Development

       4.13 Ricky Cox                                                      9/24/2021                            $561.28        Business Development
       5.   2900 S. QUINCY ST, SUITE 210                                                                                       Expenses
               Arlington, VA 22206
               VP, Business Development

       4.13 Ricky Cox                                                      9/24/2021                          $5,823.34        Salary
       6.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Business Development

       4.13 Ricky Cox                                                      10/5/2021                            $495.00        Business Development
       7.   2900 S. QUINCY ST, SUITE 210                                                                                       Expenses
               Arlington, VA 22206
               VP, Business Development




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 Debtor      BMT Designers & Planners, Inc.                                                             Case number (if known)



       Insider's name and address                                          Dates                 Total amount of value         Reasons for payment or transfer
       Relationship to debtor
       4.13 Ricky Cox                                                      10/8/2021                          $6,384.62        Salary
       8.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Business Development

       4.13 Ricky Cox                                                      10/22/2021                         $5,873.85        Salary
       9.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Business Development

       4.14 Ricky Cox                                                      10/22/2021                           $255.39        Business Development
       0.   2900 S. QUINCY ST, SUITE 210                                                                                       Expenses
               Arlington, VA 22206
               VP, Business Development

       4.14 Ricky Cox                                                      11/5/2021                          $6,384.62        Salary
       1.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Business Development

       4.14 Ricky Cox                                                      11/19/2021                         $6,384.62        Salary
       2.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Business Development

       4.14 Ricky Cox                                                      11/19/2021                         $1,120.80        Business Development
       3.   2900 S. QUINCY ST, SUITE 210                                                                                       Expenses
               Arlington, VA 22206
               VP, Business Development

       4.14 Ricky Cox                                                      12/3/2021                          $5,286.19        Salary
       4.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Business Development

       4.14 Ricky Cox                                                      12/3/2021                          $1,098.43        Business Development
       5.   2900 S. QUINCY ST, SUITE 210                                                                                       Expenses
               Arlington, VA 22206
               VP, Business Development

       4.14 Ricky Cox                                                      12/17/2021                         $5,852.57        Salary
       6.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Business Development

       4.14 Ricky Cox                                                      12/17/2021                           $532.05        Business Development
       7.   2900 S. QUINCY ST, SUITE 210                                                                                       Expenses
               Arlington, VA 22206
               VP, Business Development

       4.14 Ricky Cox                                                      12/30/2021                           $283.76        Business Development
       8.   2900 S. QUINCY ST, SUITE 210                                                                                       Expenses
               Arlington, VA 22206
               VP, Business Development

       4.14 Ricky Cox                                                      12/30/2021                         $6,100.86        Salary
       9.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Business Development




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 Debtor      BMT Designers & Planners, Inc.                                                             Case number (if known)



       Insider's name and address                                          Dates                 Total amount of value         Reasons for payment or transfer
       Relationship to debtor
       4.15 Ricky Cox                                                      1/14/2022                          $1,086.75        Business Development
       0.   2900 S. QUINCY ST, SUITE 210                                                                                       Expenses
               Arlington, VA 22206
               VP, Business Development

       4.15 Ricky Cox                                                      1/14/2022                          $5,297.87        Salary
       1.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Business Development

       4.15 Ricky Cox                                                      1/28/2022                          $9,615.38        Salary
       2.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               President

       4.15 Doug Donegan                                                   2/12/2021                          $7,153.86        Salary
       3.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Operations

       4.15 Doug Donegan                                                   2/26/2021                          $7,153.86        Salary
       4.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Operations

       4.15 Doug Donegan                                                   3/12/2021                          $7,153.86        Salary
       5.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Operations

       4.15 Doug Donegan                                                   3/26/2021                          $7,153.86        Salary
       6.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Operations

       4.15 Doug Donegan                                                   4/9/2021                           $6,828.69        Salary
       7.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Operations

       4.15 Doug Donegan                                                   4/9/2021                             $325.17        Misc Business Expenses
       8.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Operations

       4.15 Doug Donegan                                                   4/23/2021                          $7,153.86        Salary
       9.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Operations

       4.16 Doug Donegan                                                   5/7/2021                           $6,155.64        Salary
       0.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Operations

       4.16 Doug Donegan                                                   5/21/2021                          $6,823.03        Salary
       1.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Operations




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 Debtor      BMT Designers & Planners, Inc.                                                             Case number (if known)



       Insider's name and address                                          Dates                 Total amount of value         Reasons for payment or transfer
       Relationship to debtor
       4.16 Doug Donegan                                                   5/21/2021                            $330.81        Misc Business Expenses
       2.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Operations

       4.16 Doug Donegan                                                   6/4/2021                           $5,007.71        Salary
       3.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Operations

       4.16 Doug Donegan                                                   6/4/2021                           $2,146.15        Misc Business Expenses
       4.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Operations

       4.16 Doug Donegan                                                   6/11/2021                            $480.00        Misc Business Expenses
       5.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Operations

       4.16 Doug Donegan                                                   6/18/2021                          $7,153.86        Salary
       6.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Operations

       4.16 Doug Donegan                                                   7/2/2021                           $7,153.86        Salary
       7.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Operations

       4.16 Doug Donegan                                                   7/16/2021                          $7,153.86        Salary
       8.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Operations

       4.16 Doug Donegan                                                   7/30/2021                          $7,153.86        Salary
       9.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Operations

       4.17 Doug Donegan                                                   8/13/2021                          $6,480.46        Salary
       0.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Operations

       4.17 Doug Donegan                                                   8/27/2021                          $6,488.38        Salary
       1.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Operations

       4.17 Doug Donegan                                                   9/10/2021                          $6,178.33        Salary
       2.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Operations

       4.17 Doug Donegan                                                   9/24/2021                          $4,650.01        Salary
       3.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Operations




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 Debtor      BMT Designers & Planners, Inc.                                                             Case number (if known)



       Insider's name and address                                          Dates                 Total amount of value         Reasons for payment or transfer
       Relationship to debtor
       4.17 Doug Donegan                                                   9/24/2021                          $2,503.85        Misc Business Expenses
       4.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Operations

       4.17 Doug Donegan                                                   10/8/2021                          $6,813.19        Salary
       5.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Operations

       4.17 Doug Donegan                                                   10/8/2021                            $340.67        Misc Business Expenses
       6.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Operations

       4.17 Doug Donegan                                                   10/22/2021                         $6,455.92        Salary
       7.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Operations

       4.17 Doug Donegan                                                   11/5/2021                          $1,073.07        Salary
       8.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Operations

       4.17 Doug Donegan                                                   11/19/2021                         $7,153.86        Salary
       9.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Operations

       4.18 Doug Donegan                                                   12/3/2021                          $7,153.86        Salary
       0.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Operations

       4.18 Doug Donegan                                                   12/17/2021                         $7,153.86        Salary
       1.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Operations

       4.18 Doug Donegan                                                   12/30/2021                         $6,080.77        Salary
       2.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Operations

       4.18 Doug Donegan                                                   12/30/2021                           $715.38        Misc Business Expenses
       3.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Operations

       4.18 Doug Donegan                                                   1/14/2022                          $4,292.32        Salary
       4.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Operations

       4.18 Doug Donegan                                                   1/14/2022                          $2,861.54        Misc Business Expenses
       5.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Operations




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 Debtor      BMT Designers & Planners, Inc.                                                             Case number (if known)



       Insider's name and address                                          Dates                 Total amount of value         Reasons for payment or transfer
       Relationship to debtor
       4.18 Doug Donegan                                                   1/28/2022                          $3,219.24        Salary
       6.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Operations

       4.18 Doug Donegan                                                   1/28/2022                        $19,673.08         Vacation Payout
       7.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Operations

       4.18 Albert Graves                                                  2/12/2021                          $5,192.32        Salary
       8.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Finance

       4.18 Albert Graves                                                  2/26/2021                          $5,192.32        Salary
       9.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Finance

       4.19 Albert Graves                                                  3/12/2021                          $5,192.32        Salary
       0.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Finance

       4.19 Albert Graves                                                  3/26/2021                          $5,192.32        Salary
       1.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Finance

       4.19 Albert Graves                                                  4/9/2021                           $2,596.16        Salary
       2.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Finance

       4.19 Albert Graves                                                  4/23/2021                          $5,192.32        Salary
       3.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Finance

       4.19 Albert Graves                                                  5/7/2021                           $5,192.32        Salary
       4.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Finance

       4.19 Albert Graves                                                  5/21/2021                          $4,203.30        Salary
       5.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Finance

       4.19 Albert Graves                                                  5/21/2021                            $989.02        Vacation Pay
       6.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Finance

       4.19 Albert Graves                                                  6/4/2021                           $5,192.32        Salary
       7.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Finance




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 Debtor      BMT Designers & Planners, Inc.                                                             Case number (if known)



       Insider's name and address                                          Dates                 Total amount of value         Reasons for payment or transfer
       Relationship to debtor
       4.19 Albert Graves                                                  6/18/2021                          $5,192.32        Salary
       8.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Finance

       4.19 Albert Graves                                                  7/2/2021                           $5,192.32        Salary
       9.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Finance

       4.20 Albert Graves                                                  7/16/2021                        $16,225.95         Vacation Payout
       0.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Finance

       4.20 Albert Graves                                                  7/16/2021                          $5,192.32        Salary
       1.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Finance

       4.20 Albert Graves                                                  7/30/2021                          $1,612.86        Vacation Pay
       2.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Finance

       4.20 Albert Graves                                                  7/30/2021                          $2,596.16        Salary
       3.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Finance

       4.20 Albert Graves                                                  8/19/2021                          $1,950.00        Consulting Fees
       4.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Finance

       4.20 Albert Graves                                                  9/2/2021                         $10,400.00         Consulting Fees
       5.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Finance

       4.20 Albert Graves                                                  9/16/2021                          $3,120.00        Consulting Fees
       6.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Finance

       4.20 Albert Graves                                                  10/4/2021                        $10,920.00         Consulting Fees
       7.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Finance

       4.20 Albert Graves                                                  10/14/2021                         $8,840.00        Consulting Fees
       8.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Finance

       4.20 Albert Graves                                                  10/28/2021                       $15,210.00         Consulting Fees
       9.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Finance




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 Debtor      BMT Designers & Planners, Inc.                                                             Case number (if known)



       Insider's name and address                                          Dates                 Total amount of value         Reasons for payment or transfer
       Relationship to debtor
       4.21 Albert Graves                                                  11/10/2021                         $8,060.00        Consulting Fees
       0.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Finance

       4.21 Albert Graves                                                  11/22/2021                         $6,500.00        Consulting Fees
       1.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Finance

       4.21 John Hollingsworth                                             2/12/2021                          $3,115.39        Salary
       2.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Engineering

       4.21 John Hollingsworth                                             2/26/2021                          $5,664.35        Salary
       3.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Engineering

       4.21 John Hollingsworth                                             3/12/2021                          $6,230.78        Salary
       4.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Engineering

       4.21 John Hollingsworth                                             3/26/2021                          $6,230.78        Salary
       5.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Engineering

       4.21 John Hollingsworth                                             4/9/2021                           $5,340.66        Salary
       6.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Engineering

       4.21 John Hollingsworth                                             4/9/2021                             $890.12        Vacation Pay
       7.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Engineering

       4.21 John Hollingsworth                                             4/23/2021                          $6,230.78        Salary
       8.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Engineering

       4.21 John Hollingsworth                                             5/7/2021                           $6,230.78        Salary
       9.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Engineering

       4.22 John Hollingsworth                                             5/21/2021                          $6,230.77        Salary
       0.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Engineering

       4.22 John Hollingsworth                                             6/4/2021                           $5,651.17        Salary
       1.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Engineering




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 Debtor      BMT Designers & Planners, Inc.                                                             Case number (if known)



       Insider's name and address                                          Dates                 Total amount of value         Reasons for payment or transfer
       Relationship to debtor
       4.22 John Hollingsworth                                             6/4/2021                             $579.61        Vacation Pay
       2.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Engineering

       4.22 John Hollingsworth                                             6/18/2021                          $6,230.78        Salary
       3.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Engineering

       4.22 John Hollingsworth                                             7/2/2021                           $5,651.17        Salary
       4.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Engineering

       4.22 John Hollingsworth                                             7/16/2021                          $6,230.78        Salary
       5.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Engineering

       4.22 John Hollingsworth                                             7/30/2021                          $5,956.90        Salary
       6.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Engineering

       4.22 John Hollingsworth                                             8/13/2021                          $2,803.85        Salary
       7.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Engineering

       4.22 John Hollingsworth                                             8/13/2021                          $3,115.39        Vacation Pay
       8.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Engineering

       4.22 John Hollingsworth                                             8/27/2021                          $6,230.78        Salary
       9.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Engineering

       4.23 John Hollingsworth                                             9/10/2021                          $5,930.50        Salary
       0.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Engineering

       4.23 John Hollingsworth                                             9/24/2021                          $6,230.78        Salary
       1.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Engineering

       4.23 John Hollingsworth                                             10/8/2021                          $5,203.02        Salary
       2.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Engineering

       4.23 John Hollingsworth                                             10/8/2021                          $1,027.76        Vacation Pay
       3.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Engineering




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       Insider's name and address                                          Dates                 Total amount of value         Reasons for payment or transfer
       Relationship to debtor
       4.23 John Hollingsworth                                             10/22/2021                         $4,153.84        Salary
       4.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Engineering

       4.23 John Hollingsworth                                             10/22/2021                         $1,780.23        Vacation Pay
       5.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Engineering

       4.23 John Hollingsworth                                             11/5/2021                          $6,230.78        Salary
       6.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Engineering

       4.23 John Hollingsworth                                             11/19/2021                         $6,230.78        Salary
       7.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Engineering

       4.23 John Hollingsworth                                             12/3/2021                          $1,869.23        Vacation Pay
       8.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Engineering

       4.23 John Hollingsworth                                             12/3/2021                          $4,361.55        Salary
       9.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Engineering

       4.24 John Hollingsworth                                             12/17/2021                         $6,230.78        Salary
       0.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Engineering

       4.24 John Hollingsworth                                             12/30/2021                           $303.94        Vacation Pay
       1.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Engineering

       4.24 John Hollingsworth                                             12/30/2021                         $5,926.84        Salary
       2.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Engineering

       4.24 John Hollingsworth                                             1/14/2022                            $911.82        Vacation Pay
       3.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Engineering

       4.24 John Hollingsworth                                             1/14/2022                          $3,495.32        Salary
       4.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Engineering

       4.24 John Hollingsworth                                             1/28/2022                          $5,607.70        Salary
       5.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               VP, Engineering




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 Debtor      BMT Designers & Planners, Inc.                                                             Case number (if known)



       Insider's name and address                                          Dates                 Total amount of value         Reasons for payment or transfer
       Relationship to debtor
       4.24 James Hull                                                     2/26/2021                          $2,500.00        Board of Directors
       6.   2900 S. QUINCY ST, SUITE 210                                                                                       Compensation
               Arlington, VA 22206
               Proxy Holder, Outside Board Member

       4.24 James Hull                                                     5/25/2021                          $2,500.00        Board of Directors
       7.   2900 S. QUINCY ST, SUITE 210                                                                                       Compensation
               Arlington, VA 22206
               Proxy Holder, Outside Board Member

       4.24 James Hull                                                     8/19/2021                          $2,500.00        Board of Directors
       8.   2900 S. QUINCY ST, SUITE 210                                                                                       Compensation
               Arlington, VA 22206
               Proxy Holder, Outside Board Member

       4.24 James Hull                                                     12/15/2021                         $2,500.00        Board of Directors
       9.   2900 S. QUINCY ST, SUITE 210                                                                                       Compensation
               Arlington, VA 22206
               Proxy Holder, Outside Board Member

       4.25 Mike Rigas                                                     8/27/2021                          $5,769.23        Salary
       0.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               President

       4.25 Mike Rigas                                                     9/10/2021                          $5,769.23        Salary
       1.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               President

       4.25 Mike Rigas                                                     9/10/2021                          $5,769.23        Vacation Pay
       2.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               President

       4.25 Mike Rigas                                                     9/24/2021                        $11,538.46         Salary
       3.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               President

       4.25 Mike Rigas                                                     10/5/2021                            $277.42        Misc Expenses
       4.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               President

       4.25 Mike Rigas                                                     10/8/2021                        $11,538.46         Salary
       5.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               President

       4.25 Mike Rigas                                                     10/22/2021                       $11,538.46         Salary
       6.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               President

       4.25 Mike Rigas                                                     11/5/2021                        $11,538.46         Salary
       7.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               President




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       Insider's name and address                                          Dates                 Total amount of value         Reasons for payment or transfer
       Relationship to debtor
       4.25 Mike Rigas                                                     11/19/2021                             $93.65       Misc Expenses
       8.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               President

       4.25 Mike Rigas                                                     11/19/2021                       $11,538.46         Salary
       9.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               President

       4.26 Mike Rigas                                                     12/3/2021                        $11,538.46         Salary
       0.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               President

       4.26 Mike Rigas                                                     12/17/2021                       $11,538.46         Salary
       1.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               President

       4.26 Mike Rigas                                                     12/30/2021                       $11,538.46         Salary
       2.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               President

       4.26 Mike Rigas                                                     1/14/2022                        $11,538.46         Salary
       3.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               President

       4.26 Mike Rigas                                                     1/28/2022                          $5,769.23        Salary
       4.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               President

       4.26 Mike Rigas                                                     1/28/2022                          $1,153.85        Vacation Pay
       5.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               President

       4.26 Paul Schneider                                                 2/26/2021                          $2,500.00        Board of Directors
       6.   2900 S. QUINCY ST, SUITE 210                                                                                       Compensation
               Arlington, VA 22206
               Proxy Holder, Board Chairman

       4.26 Paul Schneider                                                 5/25/2021                          $2,500.00        Board of Directors
       7.   2900 S. QUINCY ST, SUITE 210                                                                                       Compensation
               Arlington, VA 22206
               Proxy Holder, Board Chairman

       4.26 Paul Schneider                                                 8/19/2021                          $2,500.00        Board of Directors
       8.   2900 S. QUINCY ST, SUITE 210                                                                                       Compensation
               Arlington, VA 22206
               Proxy Holder, Board Chairman

       4.26 Paul Schneider                                                 12/14/2021                         $2,500.00        Board of Directors
       9.   2900 S. QUINCY ST, SUITE 210                                                                                       Compensation
               Arlington, VA 22206
               Proxy Holder, Board Chairman




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       Insider's name and address                                          Dates                 Total amount of value         Reasons for payment or transfer
       Relationship to debtor
       4.27 Kai Skvarla                                                    2/12/2021                        $10,501.28         Salary
       0.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               President

       4.27 Kai Skvarla                                                    2/26/2021                        $10,501.28         Salary
       1.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               President

       4.27 Kai Skvarla                                                    3/12/2021                        $10,501.28         Salary
       2.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               President

       4.27 Kai Skvarla                                                    3/26/2021                        $10,501.28         Salary
       3.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               President

       4.27 Kai Skvarla                                                    4/9/2021                         $10,501.28         Salary
       4.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               President

       4.27 Kai Skvarla                                                    4/23/2021                        $10,501.28         Salary
       5.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               President

       4.27 Kai Skvarla                                                    5/7/2021                         $10,501.28         Salary
       6.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               President

       4.27 Kai Skvarla                                                    5/21/2021                        $10,501.28         Salary
       7.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               President

       4.27 Kai Skvarla                                                    6/4/2021                         $10,501.28         Salary
       8.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               President

       4.27 Kai Skvarla                                                    6/11/2021                          $2,280.15        Misc Expenses
       9.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               President

       4.28 Kai Skvarla                                                    6/18/2021                        $10,501.28         Salary
       0.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               President

       4.28 Kai Skvarla                                                    7/2/2021                           $8,000.98        Salary
       1.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               President




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       Insider's name and address                                          Dates                 Total amount of value         Reasons for payment or transfer
       Relationship to debtor
       4.28 Kai Skvarla                                                    7/2/2021                           $2,500.30        Misc Expenses
       2.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               President

       4.28 Kai Skvarla                                                    7/9/2021                           $1,773.05        Misc Expenses
       3.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               President

       4.28 Kai Skvarla                                                    7/16/2021                        $10,001.22         Salary
       4.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               President

       4.28 Kai Skvarla                                                    7/16/2021                            $500.06        Misc Expenses
       5.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               President

       4.28 Kai Skvarla                                                    7/30/2021                        $10,501.28         Salary
       6.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               President

       4.28 Kai Skvarla                                                    8/5/2021                             $473.96        Misc Expenses
       7.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               President

       4.28 Kai Skvarla                                                    8/13/2021                        $10,501.28         Salary
       8.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               President

       4.28 Kai Skvarla                                                    8/20/2021                              $39.53       Misc Expenses
       9.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               President

       4.29 Kai Skvarla                                                    8/27/2021                        $10,023.95         Salary
       0.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               President

       4.29 Kai Skvarla                                                    8/27/2021                            $477.33        Misc Expenses
       1.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               President

       4.29 Kai Skvarla                                                    9/10/2021                        $10,501.28         Salary
       2.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               President

       4.29 Kai Skvarla                                                    9/24/2021                        $10,501.28         Salary
       3.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               President




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       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.29 Kai Skvarla                                                    10/5/2021                          $2,465.53          Misc Expenses
       4.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               President

       4.29 Kai Skvarla                                                    10/8/2021                        $10,501.28           Salary
       5.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               President

       4.29 Kai Skvarla                                                    10/8/2021                        $40,450.90           Vacation Payout
       6.   2900 S. QUINCY ST, SUITE 210
               Arlington, VA 22206
               President

       4.29 Mitch Waldman                                                  12/15/2021                         $2,500.00          Board of Directors
       7.   2900 S. QUINCY ST, SUITE 210                                                                                         Compensation
               Arlington, VA 22206
               Proxy Holder, Incoming Outside Board
               Member

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000



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 Debtor       BMT Designers & Planners, Inc.                                                                Case number (if known)




           None

               Recipient's name and address                      Description of the gifts or contributions                  Dates given                   Value

       9.1.    PURE                                              Sponsor
               PO Box 543
               Haymarket, VA 20168-0543                                                                                     6/21/2021               $1,000.00

               Recipients relationship to debtor



       9.2.    AMERICAN SOCIETY                                  DANA-JOHN NACHTSHEIM FUN6/2019
               1452 Duke Street
               Alexandria, VA 22314                                                                                         August 2021             $4,000.00

               Recipients relationship to debtor




 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss    Value of property
       how the loss occurred                                                                                                                              lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).
       Employee Theft                                                                                                       August 2019-            $6,312.19
       Employee misuse of company                                                                                           January 2021
       vehicle and expenditure of BMT
       funds for personal use
       Currently being prosecuted in
       Portsmouth Circuit Court, Criminal
       Division, Portsmouth, VA
       (Commonwealth of VA vs. Daunte
       OBrien Carter)


 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.




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 Debtor        BMT Designers & Planners, Inc.                                                            Case number (if known)



                Who was paid or who received                         If not money, describe any property transferred           Dates        Total amount or
                the transfer?                                                                                                                        value
                Address
       11.1.    Brown Rudnick LLP
                7 Times Square
                New York, NY 10036                                                                                             1/20/2022       $250,000.00

                Email or website address
                brownrudnick.com

                Who made the payment, if not debtor?




       11.2.    Teneo Capital LLC
                280 Park Avenue
                New York, NY 10017                                                                                             1/20/2022       $175,000.00

                Email or website address
                teneo.com

                Who made the payment, if not debtor?




       11.3.    Prime Clerk LLC
                55 E 52nd Street
                17th Floor
                New York, NY 10055                                                                                             1/21/2022         $25,000.00

                Email or website address
                primeclerk.com

                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

       Name of trust or device                                       Describe any property transferred                Dates transfers       Total amount or
                                                                                                                      were made                      value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.




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               Who received transfer?                            Description of property transferred or                  Date transfer           Total amount or
               Address                                           payments received or debts paid in exchange             was made                         value
       13.1 Gravois Aluminum Boats,
       .    LLC, d/b/a Metal
               Shark Aluminum Boats (MSB)                        Settlement and General Release
               6814 E. Admiral Doyle Dr.                         regarding disputes related to the NOLA
               Jeanerette, LA 70544                              RTA Ferry design project.                               4/7/2021                  $110,000.00

               Relationship to debtor
               Client


       13.2                                                      Auction of BMT's Portsmouth facility
       .                                                         assets: 2006 Chevrolet truck, 2005 Yale
               Multiple Buyers                                   forklift, Miller AC/DC welder, misc shop
                                                                 equipment, misc office furniture)                       5/18/2021                     Unknown

               Relationship to debtor



       13.3 Valkyrie Enterprises LLC
       .    2877 Guardian Lane, Suite
               300
               Virginia Beach, VA 23452                          2017 Chevrolet Truck, 1 ton dually                      5/19/2021                   $15,378.48

               Relationship to debtor




 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To
       14.1.    2900 S. Quincy Street, Suite 210                                                                           Aug 2019 - Jan 2022
                Arlington, VA 22206

       14.2.    2367 Tacoma Ave S                                                                                          Mar 2018 - Jan 2022
                Surge Tacoma, Office 219
                Tacoma, WA 98402

       14.3.    3501 Shipwright Street                                                                                     Jan 2016 - May 2021
                Portsmouth, VA 23703

       14.4.    4401 Ford Ave., Suite 1000                                                                                 Apr 2015 - Aug 2019
                Alexandria, VA 22302

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.




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                Facility name and address                        Nature of the business operation, including type of services         If debtor provides meals
                                                                 the debtor provides                                                  and housing, number of
                                                                                                                                      patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?

                       No Go to Part 10.
                      Yes. Fill in below:
                    Name of plan                                                                               Employer identification number of the plan
                    401(k) Tax Deferral and Savings Plan                                                       EIN: XX-XXXXXXX

                    Has the plan been terminated?
                      No
                       Yes

                       No Go to Part 10.
                      Yes. Fill in below:
                    Name of plan                                                                               Employer identification number of the plan
                    CareFirst Group Medical & Dental Plan                                                      EIN: XX-XXXXXXX

                    Has the plan been terminated?
                      No
                       Yes

                       No Go to Part 10.
                      Yes. Fill in below:
                    Name of plan                                                                               Employer identification number of the plan
                    Flores - Section 125 Cafeteria - FSA Medical & Dependent                                   EIN: XX-XXXXXXX
                    Care

                    Has the plan been terminated?
                      No
                       Yes

                       No Go to Part 10.
                      Yes. Fill in below:
                    Name of plan                                                                               Employer identification number of the plan
                    GVS Group Vision Plan                                                                      EIN: XX-XXXXXXX

                    Has the plan been terminated?
                      No
                       Yes

                       No Go to Part 10.
                      Yes. Fill in below:
                    Name of plan                                                                               Employer identification number of the plan
                    HMSA Group Health Plan & Dental Plan with Life ADD                                         EIN: XX-XXXXXXX

                    Has the plan been terminated?
                      No
                       Yes
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                       No Go to Part 10.
                      Yes. Fill in below:
                    Name of plan                                                                               Employer identification number of the plan
                    Mutual of Omaha Group Life ADD LTD & Vol Life ADD                                          EIN: XX-XXXXXXX

                    Has the plan been terminated?
                      No
                       Yes

                       No Go to Part 10.
                      Yes. Fill in below:
                    Name of plan                                                                               Employer identification number of the plan
                    UNUM Supplemental Individual Disability Insurance Plan                                     EIN: XX-XXXXXXX

                    Has the plan been terminated?
                      No
                       Yes


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and                     Last 4 digits of         Type of account or          Date account was            Last balance
              Address                                            account number           instrument                  closed, sold,           before closing or
                                                                                                                      moved, or                        transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
       JK Moving Services                                            N/A                                  Corporate Documents                     No
       44112 Mercure Cirlce                                                                                                                       Yes
       Sterling, VA 20166



 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own




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 Debtor      BMT Designers & Planners, Inc.                                                             Case number (if known)




21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None

       Owner's name and address                                      Location of the property             Describe the property                                      Value
       Pacific Whale                                                                                      Customer Cash Advance                                 $94,802.00



 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed




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    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed
    25.1.    CGS-BMT JV LLC                                   Environmental Services                           EIN:         XX-XXXXXXX
             5405 Twin Knolls Road, Suite
             1                                                                                                 From-To      March 20, 2018 - September 30,
             Columbia, MD 21045                                                                                             2020


26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Albert Graves                                                                                                              2015 - 2021
                    2900 S Quincy St, Suite 210
                    Arlington, VA 22206
       26a.2.       Lin Yang                                                                                                                   May 2021 - October
                    2900 S Quincy St, Suite 210                                                                                                2021
                    Arlington, VA 22206
       26a.3.       Mary Karen Wills                                                                                                           2021
                    c/o BRG
                    1800 M Street, NW
                    Second Floor
                    Washington, DC 20036
       26a.4.       Rita Chaundy                                                                                                               September 2021 -
                    2900 S Quincy St, Suite 210                                                                                                January 2022
                    Arlington, VA 22206

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.1.       Rubino & Company, Chartered                                                                                                2019-2022
                    6903 Rockledge Drive, Suite 300
                    Bethesda, MD 20817

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Rubino & Company, Chartered                                                              2019-2022
                    6903 Rockledge Drive, Suite 300
                    Bethesda, MD 20817

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?
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            No
            Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                          Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory
       27.1 Albert Graves                                                                   Inventory was
       .                                                                                    done monthly
                                                                                            until facility
                                                                                            operations
                                                                                            ceased with all
                                                                                            assets
                                                                                            auctioned in
                                                                                            May 2021

               Name and address of the person who has possession of
               inventory records
               N/A



28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       David Bardash                                  2900 S. QUINCY ST, SUITE 210                        VP, Commercial
                                                      Arlington, VA 22206

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Paul Schneider                                 2900 S. QUINCY ST, SUITE 210                        Proxy Holder, Board
                                                      Arlington, VA 22206                                 Chairman

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Ricky Cox                                      2900 S. QUINCY ST, SUITE 210                        President
                                                      Arlington, VA 22206

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Rita Chaundy                                   2900 S. QUINCY ST, SUITE 210                        VP, Finance
                                                      Arlington, VA 22206

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Technology Financing Inc.                      c/o BMT Commercial USA, Inc.                        Parent Company                        100%
                                                      6639 Theall Rd
                                                      Houston, TX 77066


29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.

       Name                                           Address                                             Position and nature of any        Period during which
                                                                                                          interest                          position or interest
                                                                                                                                            was held
       Albert Graves                                  2900 S. QUINCY ST, SUITE 210                        VP, Finance                       July 2015 - July
                                                      Arlington, VA 22206                                                                   2021

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       Name                                           Address                                             Position and nature of any   Period during which
                                                                                                          interest                     position or interest
                                                                                                                                       was held
       Doug Donegan                                   2900 S. QUINCY ST, SUITE 210                        VP, Operations               October 2018 -
                                                      Arlington, VA 22206                                                              January 2022

       Name                                           Address                                             Position and nature of any   Period during which
                                                                                                          interest                     position or interest
                                                                                                                                       was held
       James Hull                                     2900 S. QUINCY ST, SUITE 210                        Proxy Holder, Outside        Unknown -
                                                      Arlington, VA 22206                                 Board Member                 December 2021

       Name                                           Address                                             Position and nature of any   Period during which
                                                                                                          interest                     position or interest
                                                                                                                                       was held
       John Hollingsworth                             2900 S. QUINCY ST, SUITE 210                        VP, Engineering              June 2016 -
                                                      Arlington, VA 22206                                                              January 2022

       Name                                           Address                                             Position and nature of any   Period during which
                                                                                                          interest                     position or interest
                                                                                                                                       was held
       Kai Skvarla                                    2900 S. QUINCY ST, SUITE 210                        President                    May 2010-
                                                      Arlington, VA 22206                                                              October 2021

       Name                                           Address                                             Position and nature of any   Period during which
                                                                                                          interest                     position or interest
                                                                                                                                       was held
       Mike Rigas                                     2900 S. QUINCY ST, SUITE 210                        President                    August 2021 -
                                                      Arlington, VA 22206                                                              January 2022

       Name                                           Address                                             Position and nature of any   Period during which
                                                                                                          interest                     position or interest
                                                                                                                                       was held
       Mitch Waldman                                  2900 S. QUINCY ST, SUITE 210                        Proxy Holder, Outside        September 2021 -
                                                      Arlington, VA 22206                                 Board Member                 December 2021

       Name                                           Address                                             Position and nature of any   Period during which
                                                                                                          interest                     position or interest
                                                                                                                                       was held
       Richard Celotto                                2900 S. QUINCY ST, SUITE 210                        VP, Compliance and           September 1996 -
                                                      Arlington, VA 22206                                 Advisory Services            January 2022

       Name                                           Address                                             Position and nature of any   Period during which
                                                                                                          interest                     position or interest
                                                                                                                                       was held
       Robert Corey                                   2900 S. QUINCY ST, SUITE 210                        VP, Engineering              November 2021 -
                                                      Arlington, VA 22206                                                              January 2022

       Name                                           Address                                             Position and nature of any   Period during which
                                                                                                          interest                     position or interest
                                                                                                                                       was held
       Thomas F Atkin                                 2900 S. QUINCY ST, SUITE 210                        Proxy Holder, Outside        Unknown -
                                                      Arlington, VA 22206                                 Board Member                 December 2021


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates         Reason for
                                                                 property                                                              providing the value

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               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value
       30.1 See SOFA Part 2, Question 4
       .

               Relationship to debtor




31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation
    Technology Financing, Inc.                                                                                 EIN:        XX-XXXXXXX

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         February 1, 2022

                                                                        Ricky Cox
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
 No
 Yes




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